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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                         SOUTHERN DIVISION
                                              LONDON
                                   CRIMINAL MINUTES - SENTENCING

Case No. 6:09-CR-01-01-ART                        At: London                        Date: September 14, 2009

USA vs Michael P. Green           X present     X custody       bond          OR     Age 30

DOCKET ENTRY: The Court adopts and accepts the findings contained in the Pre-sentence Investigation Report,
including the guideline calculations. Plea Agreement was accepted by the Court.


PRESENT:          HON. AMUL R. THAPAR, UNITED STATES DISTRICT JUDGE

               Rebecca Christian              Sandy Wilder                     W. Samuel Dotson
                Deputy Clerk                  Court Reporter                  Assistant U.S. Attorney

Counsel for Defendant: James Hibbard             X present             retained      X appointed

PROCEEDINGS: SENTENCING

       Objection to Presentence Report is OVERRULED/GRANTED, for reasons as stated on the record.

 X     No objections to Presentence Report.

       The Court Reporter shall transcribe the proceeding of the hearing on the Objections to the Presentence
       Report and file same in the record.

 X     The transcript shall be deemed as the written findings of the Court.

 X     Court’s Advice of Right to Appeal provided to defendant.

 X     Judgment shall be entered (See Judgment & Commitment.)

       Defendant is released consistent with the terms of the Judgment entered contemporaneously herewith.

 X     Defendant remanded to the custody of the United States Marshal.

Copies: COR, USP, USM


TIC: 21 min.
